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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 UNITED STATES OF AMERICA ex rel.             §
 RICHARD DRUMMOND,                            §
                                              §
       Plaintiff,                             §
 v.                                           §              CIVIL ACTION 4:08-cv-02441
                                              §
 BESTCARE LABORATORY SERVICES                 §                 JURY TRIAL DEMANDED
 LLC, et al.,                                 §
                                              §
       Defendants.                            §                 JUDGE LYNN N. HUGHES


                DEFENDANTS’ NOTICE OF RULING IN RELATED CASE

       Pursuant to Local Rule 5.2, Defendants BestCare Laboratory Services LLC and Dr. Karim

Maghareh file this notice of ruling in a related case: Karim Maghareh, Ph.D. & BestCare

Laboratory Services, LLC, Petitioners v. The Inspector General, Dkt. No. C-16-40, before the

Departmental Appeals Board, Civil Remedies Division of the Department of Health and Human

Services (the “HHS Proceeding”).

       On October 6, 2017, the Administrative Law Judge in the HHS Proceeding issued an

Omnibus Order, denying the parties’ summary judgment motions and ordering the matter to trial.

The Order is attached as Exhibit A.
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                               Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing pleading was served on the following counsel of
record through the Court’s ECF system and in compliance with the Federal Rules of Civil
Procedure on October 24, 2017:

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                                            4823-4111-2906, v. 1




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